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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
DEBORAH ANDREWS,
Case No. 2:20-cv-00031
Plaintiff,
VS.
THE ESTATE OF TYRONE
FOSTER, deceased,
Defendant.

 

 

ORDER OF DISMISSAL WITH PREJUDICE
OF DEPOSITORS INSURANCE COMPANY

Plaintiff, DEBORAH ANDREWS and Depositors Insurance Company have announced
to the Court that all matters in controversy against Depositors Insurance Company have been
resolved. A Stipulation of Dismissal with Prejudice of Depositors Insurance Company has been
signed and filed with the Court. Having considered the Stipulation of Dismissal with Prejudice of
Depositors Insurance Company, the Court hereby makes and delivers the following ruling:

IT IS ORDERED that the claims and causes of action that were or could have been asserted
herein by Plaintiff DEBORAH ANDREWS, against Depositors Insurance Company are in all
respects dismissed with prejudice to the refiling of same, with court costs and attorneys’ fees to be
paid by the party incurring same.

Depositors Insurance Company is hereby removed as an unnamed party from this matter
and no further participation shall be required of Depositors Insurance Company or its counsel.

This Order only applies to Depositors Insurance Company; all other claims that have been or could
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be brought in this matter against all other named and unnamed party defendants shall remain active

and pending at this time.

SO ORDERED, this | day of June, 2021.

   

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HON. VISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
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SO ERN DISTRICT OF GEORGIA
